                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                    at CHATTANOOGA

 IN THE MATTER OF THE SEARCH OF:                     Case No. 1:21-rnj-     t
 A USPS Mail Parcel now in the Custody of the        Magistrate Judge Christopher Steger
 USPIS
                                           AFFIDAVIT

        I, Lauren Moon, being duly sworn, hereby depose and say:

        1.     I am a Task Force Officer with the United States Postal Inspection Service. I am

fmiher employed as a Special Agent with the Tennessee Bureau of Investigation and cun-ently

assigned to the Drug Investigation Division for the Eastern District of Tennessee. I have been

employed in that capacity since August of 2019. Currently, I am responsible for investigating

crimes involving the United States Postal Service ("USPS"), specifically those involving the use

of the United States Postal Service to facilitate the transport of illegal narcotics.

        2.     I am a Law Enforcement Officer under the authority of Title 18, United States Code,

Section 3061. As such, I am authorized to make arrests with or without warrants for offenses made

in my presence or when I have reasonable grounds to believe the person has committed or is

committing a felony against the United States. I am also authorized under this statute to carry

firearms and make seizures of property as provided by law.

       3.     From my training and experience, I know that the United States Postal Service is

frequently used to transport illegal narcotics to areas throughout the United States. I am also aware

that the United States Postal Service is used to send the proceeds relating to narcotics distribution

back to the narcotics source of supply. I also know that the reason drug traffickers use the United

States Mail to ship controlled substances and their proceeds is because of the speed and protection

afforded the United States Mail.




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        4.     Title 21, United States Code, Section 841 makes it an offense for any person to

manufacture, distribute, or possess with intent to manufacture or distribute, a controlled substance.

Title 21, United States Code, Section 843(b) makes it an offense for any person knowingly or

intentionally to use any communication facility in committing or in causing to facilitate the

commission of any act or acts constituting a felony under any provisions of Subchapter I or

Subchapter II of the Drug Abuse Prevention and Control Act. Title 21, United States Code, Section

846 makes it an offense to conspire to commit an offense set out in Title 21. Under Title 18 United

States Code, Section 1342 makes it illegal to receive mail matter or parcels addressed to fictitious

names while carrying on unlawful business.

       5.     To combat the distribution of illegal narcotics and their proceeds, certain

investigative techniques are utilized by Postal Inspectors. What follows is not meant to set forth

all exhaustive investigative knowledge of this case or investigative techniques used, but only

those facts necessary in order to establish probable cause.

                                      RELEVANT FACTS

       6.     On September 29, 2021 I identified the following inbound parcel as suspicious:

               From:                                 To:
               Jordan Pickens                        Mary Pickens
               612 W Duarte Rd                       1812 Tuskegee Blvd
               Monrovia, CA 91016                    Chattanooga, TN 37421




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         7.     The reasons I believe the above parcel (which is identified in Attachment A to this

 affidavit) contains illegal narcotics or cash proceeds from the trafficking of illegal narcotics

 includes, but are not limited to the following factors:

        8.     This package is addressed from a known "Source State" (California), that is, a

location that tends to supply a large amount of illegal narcotics to the Eastern District of

Tennessee.

        9.     The parcel was shipped as a "Priority Express 1-Day" which meant it was intended

to be delivered within a one-day time frame from its acceptance into the USPS mail stream. This

service is offered by USPS with an increase in shipping cost. Based on my training and

experience with the interdiction of illegal drugs in the USPS mail stream, I know Express 1-Day

shipping is preferred by shippers/recipients engaged in illegal activity as it eliminates the amount

of time drugs are in the mail stream and thereby reducing the likelihood of interception by law

enforcement.

        10.    Using databases available to this agent, I researched the recipient name of "Mary

Pickens". I was unable to locate any subject by that name currently, or formerly associated with

the recipient address of 1812 Tuskegee Blvd Chattanooga, TN 37421. I further researched the

address of 1812 Tuskegee Blvd Chattanooga, TN 37421 and learned law enforcement responded

to this location regarding a subject (Tylin GORDON) overdosing on Fentanyl on July 23, 2021.

        11.    Using databases available to this agent, I also researched the sender address of 612

W Duarte Road Monrovia, CA 91016. I was unable to locate the sender of name of"Jordan

Pickens" as being a current or former associate of the address.

       12.     Based on my training and experience with the interdiction of drug parcels in the

USPS mail stream, I know it is a common tactic for sender and/or recipients of illegal narcotics



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 to utilize fictitious names on the parcels to hinder law enforcement from identifying subjects

 involved in illegal activities.

         13.    I also reviewed USPS business records and discovered phone number 480-780-

 5171 contacted USPS Customer Service on September 29, 2021. The caller identified themselves

 as "Mary Pickens" (listed recipient on the target parcel) and the caller claimed to be inquiring on

their parcel not being delivered. While not confirmed, the caller sounded like a male caller who

stated he/she goes by "Mary". As the USPS clerk attempted to gather information basic

information such as the recipient address, the caller was unable to immediately provide their own

address. The caller claimed to be "there" but didn't know the address. Several seconds later, the

recipient address of 1812 Tuskegee Blvd Chattanooga, TN 37421 was provided. The USPS clerk

then attempted to gather "sender" information, but the caller claimed their phone was dying and

the line was then disconnected. No sender name or address was provided and the caller stated

he/she could not provide a value of said parcel.

        14.     On September 30, 2021, I met with Tennessee Highway Patrol's K-9 Drug Detector

Dog Unit Officer Rich Thomas and his K-9 "Marci." K-9 Marci conducted exterior examinations

of the above parcel along with three (3) other parcels of similar size and appearance. I was present

when the parcels were presented to K-9 Marci by her handler, Officer Thomas. Officer Thomas

infonned me that K-9 Marci did not demonstrate a positive ale1i and indication on the parcel

bearing the above address or any of the other "blank" parcels.

        15.     I have been advised of the qualifications of the K-9 handler and his narcotics

detector canine. K-9 Marci is trained to detect the odor ofillegal narcotics including but not limited

to marijuana, cocaine, heroin, and methamphetamine. K-9 Marci and Officer Thomas have met

standards set forth by the United States Police Canine Association and are ce1iified as a K9 unit



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 by the Tennessee Highway Patrol. For approximately five years, K-9 Marci and Officer Thomas

 have completed bi-monthly training sessions, including K-9 drug detection techniques, handling

 and handler-dog communication. Additionally, K-9 Marci and Officer Thomas engage in a

minimum of at least 16 hours per month of training in drug detection techniques, handling, and

handler-dog communication. K-9 Marci has been in service for approximately five years, during

which time, she has proven reliable in detecting narcotics odor, including the odor of marijuana,

cocaine, heroin, and methamphetamine.

        16.    Based on this agent's training and experience, this agent is familiar with the

synthetic opioids such as Fentanyl, the used of Fentanyl in pressed counterfeit pills, and the

prevalent use and distribution of this drug in various forms in the Eastern District of Tennessee.

Synthetic opioids such as Fentanyl are not one of the aforementioned drugs the drug detection K-

9s have been trained to detect to date. Specifically, THP K-9 Handler Officer Thomas advised this

agent K-9 Marci has not been trained to detect the odor of synthetics opioids to include Fentanyl.

        17.    Based on the facts set fo1ih in this affidavit, I believe there is probable cause to

believe that the above-mentioned parcel contains controlled substances, currency, paraphernalia,

or other evidence that relates to trafficking of controlled substances, in violation of Title 21, United

States Code, Sections 841(a)(l) (distribution and possession with intent to distribute a controlled

substance) and 843(b) (unlawful use of a communication facility, including the U.S. Mails, to

facilitate the distribution of a controlled substance).

        18.    The subject parcel has been maintained unopened in my custody pending application

for a search warrant.

        19.   Because this application and affidavit relate to an ongoing investigation that is

currently covert, immediate notification of execution of this warrant is likely to seriously



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jeopardize that ongoing investigation. As discussed above, it is not readily clear that the return

address on this parcel accurately identifies its sender such that the individual or entity is amenable

to notification. Regardless, disclosure of this search warrant at this stage would present targets an

opportunity to destroy evidence, change patterns of behavior, notify confederates, and flee from

prosecution. Accordingly, your affiant requests delayed notification for a period of 30 days, up to

and including November 4, 2021.


                                                       F RTHER AFFIANT SA YETH NAUGHT


                                                         urenMoon
                                                       Task Force Officer
                                                       United States Postal Inspection Service




                _.<='Ill   to before me this l'J~day of October, 2021.


Hon. Christopher Stege
United States Magistrate Judge




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